         Case 4:12-cr-00040-JLH Document 51 Filed 11/09/12 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )             4:12CR00040 JLH
                                             )
EDMOND BATTLES                               )


                                           ORDER

       The parties have filed motions for a detention hearing. These motions (docket entries

nos. 47 & 50) are granted. The hearing will be conducted on Friday, December 14, 2012, at 1:30

p.m.

       IT IS SO ORDERED this 9        day of November, 2012.




                                                 UNITED STATES MAGISTRATE JUDGE
